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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                CASE NO.: 1:08cr4-003/MMP

DEARMUS CEZHAN LOVETT

                                      /

                                           ORDER
        After entering a guilty plea to the charges brought against him in the one-count
Indictment in this case, defendant was sentenced to a 160 month term of imprisonment.
(See Judgment dated February 5, 2009, doc. 263). This matter was later brought before
the court on defendant’s motion for sentence reduction pursuant to 18 U.S.C. § 3582(c)(2).
(Doc. 365). Upon review, the court denied defendant’s motion for sentence reduction.
(See doc. 373). Defendant has appealed the court’s decision (doc. 375) and this matter
is now before the court on defendant’s motion for leave to appeal in forma pauperis (doc.
379).
        Pursuant to the Presentence Investigation Report, based upon a total offense level
of 36 and a criminal history category of VI, the guideline imprisonment range for defendant
at the time of sentencing was 324 to 405 months; however, because defendant was
subject to a statutory mandatory minimum sentence of Life, that became the guideline
sentence pursuant to §5G1.1(b). Defendant’s guideline range did not change as a result
of the application of Amendment 750.
        Pursuant to Federal Rule of Appellate Procedure 24(a), this court hereby certifies
that this appeal is NOT taken in good faith and defendant is NOT entitled to proceed on
appeal in forma pauperis.
        Accordingly, it is ORDERED:
        1.    Defendant’s motion for leave to proceed in forma pauperis on appeal (doc.
379) is DENIED.
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       2.     Defendant is directed to pay the full appellate filing fee of $455.00 within thirty
(30) days from the date of this order.
       DONE and ORDERED this 3rd day of March, 2012.




                                             s/   M. Casey Rodgers
                                            M. CASEY RODGERS
                                            CHIEF UNITED STATES DISTRICT JUDGE




Case No. 1:08cr4-003/MMP
